Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 1 of 8 Page ID #:320




   1 Benjamin N. Gluck - State Bar No. 203997
        bgluck@birdmarella.com
   2 Nicole R. Van Dyk - State Bar No. 261646
        nvandyk@birdmarella.com
   3 Ashley D. Bowman - State Bar No. 286099
        abowman@birdmarella.com
   4 Naomi  S. Solomon - State Bar No. 321357
        nsolomon@birdmarella.com
   5 BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
     DROOKS, LINCENBERG & RHOW, P.C.
   6 1875 Century Park East, 23rd Floor
     Los Angeles, California 90067-2561
   7 Telephone: (310) 201-2100
     Facsimile: (310) 201-2110
   8
     Attorneys for Plaintiff John Doe
   9
  10                              UNITED STATES DISTRICT COURT
  11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 JOHN DOE,                                         CASE NO. 2:21-cv-02803 RGK (MAR)
  14                     Plaintiff,                    NOTICE OF PLAINTIFF’S EX
                                                       PARTE APPLICATION AND EX
  15               vs.                                 PARTE APPLICATION FOR
                                                       LEAVE TO FILE SURREPLY IN
  16 UNITED STATES OF AMERICA;                         OPPOSITION TO DEFENDANTS’
     TRACY L. WILKISON (OFFICIAL                       MOTION TO DISMISS;
  17 CAPACITY), KRISTI KOONS
     JOHNSON (OFFICIAL CAPACITY),                      PROPOSED SURREPLY IN
  18                                                   OPPOSITION TO DEFENDANTS’
              Defendants.                              MOTION TO DISMISS (EXHIBIT A
  19                                                   HERETO);
  20                                                   DECLARATION OF NICOLE R.
                                                       VAN DYK IN SUPPORT OF
  21                                                   PROPOSED SURREPLY (EXHIBIT
                                                       B HERETO)
  22
                                                       [Filed Concurrently with Declaration of
  23                                                   Nicole R. Van Dyk in Support of Ex
                                                       Parte Application; and [Proposed]
  24                                                   Order]
  25                                                   Date: July 6, 2021
                                                       Time: 9:00 a.m.
  26                                                   Crtrm.: 850
  27                                                   Assigned to Hon. R. Gary Klausner
  28                                                   Complaint Filed: March 31, 2021
       3727369.2

                         PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 2 of 8 Page ID #:321




   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2               Pursuant to Civil Local Rule 7-19, Plaintiff applies, ex parte, for an order
   3 pursuant to Local Rule 7-10 granting leave to file a surreply in opposition to
   4 Defendants’ Motion To Dismiss Complaint For Lack Of Subject Matter Jurisdiction
   5 And Failure To State A Claim Upon Which Relief Can Be Granted Pursuant To
   6 F.R.C.P. 12(B)(1) And 12(B)(6).
   7               On June 28, 2021, counsel for Plaintiff gave oral notice to Government
   8 counsel, AUSAs Victor Rodgers and Maxwell Coll, and written notice to Messrs.
   9 Rodgers, Cole, and AUSA Andrew Brown. Declaration of Nicole R. Van Dyk In
  10 Support of Ex Parte Application for Leave to File Surreply ¶¶ 2-4. Counsel for the
  11 Government advised that the Government would oppose Plaintiff’s ex parte
  12 application. Id. ¶ 4.
  13       This ex parte application is based on this Notice, the Memorandum of Points
  14 and Authorities; the proposed Surreply (attached hereto as Exhibit A); the
  15 Declaration of Nicole R. Van Dyk in support of the proposed Surreply (attached
  16 hereto as Exhibit B); the Declaration of Nicole R. Van Dyk in Support of the ex
  17 parte application; and the proposed order granting Plaintiff’s ex parte application,
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       3727369.2
                                                       2
                          PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 3 of 8 Page ID #:322




   1 all pleadings and papers on file in this action, and such further briefing and
   2 arguments as the Court may hear.
   3 DATED: June 28, 2021                  Respecfully submitted,
   4
                                           Benjamin N. Gluck
   5                                       Nicole R. Van Dyk
                                           Ashley D. Bowman
   6
                                           Naomi S. Solomon
   7                                       Bird, Marella, Boxer, Wolpert, Nessim,
                                           Drooks, Lincenberg & Rhow, P.C.
   8
   9
  10                                       By:         /s/ Benjamin N. Gluck
  11                                                         Benjamin N. Gluck
  12                                             Attorneys for Plaintiff John Doe

  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       3727369.2
                                                  3
                    PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 4 of 8 Page ID #:323




   1                      MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.            INTRODUCTION
   3               Plaintiff brings this ex parte application seeking an opportunity to file a
   4 surreply to address three arguments raised in the Government’s July 22, 2021 reply
   5 in support of its motion to dismiss. First, Plaintiff seeks leave to address the new
   6 (and patently wrong) argument raised for the first time in the Government’s reply
   7 that the Government may retain Plaintiff’s non-forfeited property as “evidence.”
   8 Second, Plaintiff seeks to address the fact that the reply references and relies on
   9 administrative forfeiture notices that this Court has since found to be
  10 unconstitutional. And third, Plaintiff seeks to clarify the reply’s reliance on
  11 inaccurate factual representations regarding the validity of USPV’s claim contesting
  12 forfeiture.
  13               As set forth below, each of these arguments is properly addressed by the
  14 filing of a surreply. Accordingly, Plaintiff respectfully requests leave to file the
  15 Surreply attached as Exhibit A and the supporting Declaration of Nicole R. Van Dyk
  16 attached as Exhibit B.
  17 II.           ARGUMENT
  18               The Court has discretion to permit the filing of a surreply. See C.D. Cal. L.R.
  19 7-10; Chow v. Neutrogena Corp., No. CV 12-04624 R(JCx), 2013 WL 5629777, at
  20 *1 (C.D. Cal. Jan. 22, 2013). Such leave is warranted where, as here, the
  21 Government raises for the first time in its reply new arguments and gross factual
  22 inaccuracies, and an intervening ruling of this Court affects Plaintiff’s case. See
  23 United States v. Venture One Mortg. Corp., No. 13-CV-1872 W (JLB), 2015 WL
  24 12532139, at *2 (S.D. Cal. Feb. 26, 2015) (leave to file a surreply should be granted
  25 “where a valid reason for such additional briefing exists, such as where the movant
  26 raises new arguments in its reply brief.”). Leave also is warranted in cases such as
  27 this one where the evidence and arguments presented in the surreply “give a more
  28 complete picture of the issues in need of resolution.” Tounget v. Valley-Wide
       3727369.2
                                                        4
                          PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 5 of 8 Page ID #:324




   1 Recreation & Park Dist., No. EDCV 16-88 JGB (KKX), 2020 WL 8410456, at *2
   2 (C.D. Cal. Feb. 20, 2020); see also Radware, Ltd. v. F5 Networks, Inc., No. 5:13-cv-
   3 02024-RMW, 2016 WL 393227, at *2 (N.D. Cal. Feb. 2, 2016) (granting leave to
   4 file surreply because it “helped to crystalize the disputed issues”).
   5               A.    Plaintiff Should be Afforded An Opportunity to Respond to the
   6                     Government’s New Argument Raised in Its Reply.
   7               “[W]hen a party has raised new arguments or presented new evidence in a
   8 reply to an opposition, the court may permit the other party to counter the new
   9 arguments or evidence.” Jordan v. Terhune, No. CIV S-03-1820-LKK, 2009 WL
  10 276764, at *3 (E.D. Cal. Feb. 5, 2009) (citing El Pollo Loco. v. Hashim, 316 F.3d
  11 1032, 1040-41 (9th Cir. 2003)); see also Whitaker v. Alo, LLC, No. 219-cv-03312-
  12 RGK, 2020 WL 1972578, at *3 (C.D. Cal. Mar. 17, 2020) (permitting surreply
  13 where other party raised a new argument in reply); VNUS Med. Techs., Inc. v.
  14 Diomed Holdings, Inc., No. C-05-2972MMC, 2007 WL 3096589, at *1 (N.D. Cal.
  15 Oct. 22, 2007) (deferring ruling on motion “in order to afford plaintiff the
  16 opportunity to file a surreply to respond to an argument raised for the first time in
  17 defendants’ reply.”).
  18               Here, the Government argues – for the first time in its reply – that Plaintiff’s
  19 Complaint should be dismissed even though the Government has not purported to
  20 seek forfeiture of all of Plaintiff’s property the Government seized. Whereas the
  21 Government’s motion to dismiss argued only that administrative forfeiture
  22 proceedings related to Plaintiff’s property had divested this Court of jurisdiction, the
  23 Government now puts forward the novel claim that it may “retain” Plaintiffs’
  24 property that is not subject to forfeiture as “evidence” to support its forfeiture of
  25 Plaintiff’s other property. (Dkt. 29, Reply at 6:15-17 (“As to boxes within the
  26 forfeiture proceeding, the government has the right to retain documents or any other
  27 items situated therein as evidence.”).) The Government’s new argument is not only
  28 contrary to the cases it cites and the Fourth Amendment, it also is wholly
       3727369.2
                                                        5
                          PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 6 of 8 Page ID #:325




   1 inconsistent with the Government’s prior representations to the Court. Plaintiff
   2 should have an opportunity to respond. Whitaker, 2020 WL 1972578, at *3; Jordan,
   3 2009 WL 276764, at *3; VNUS Med. Techs., 2007 WL 3096589, at *1.
   4               B.    This Court’s Order in Snitko Materially Affects Plaintiff’s Case
   5                     And The Government’s Motion to Dismiss It.
   6               After Plaintiff filed his opposition in this case, the Court issued an Order in
   7 Snitko v. United States, 21-cv-4405-RGK-MAK, granting Snitko’s request for a
   8 temporary restraining order because the “anemic” language of the Government’s
   9 administrative forfeiture notices failed to satisfy the plaintiffs’ due process rights.
  10 Id., Dkt. 52 at 5.
  11               The Government used that same unconstitutional language in each of the
  12 administrative forfeiture notices it issued for property it seized from USPV,
  13 including the notice(s) purporting to forfeit Plaintiff’s property. The Court’s Snitko
  14 ruling thus affects Plaintiff’s case and his argument in response to the Government’s
  15 motion to dismiss. Plaintiff should be permitted to put forward his argument that he
  16 should not be kicked out of this Court and into an administrative procedure that this
  17 Court has already deemed constitutionally defective. See Curnow v. Astrue, No. 11-
  18 CV-02589-PSG, 2013 WL 1962366, at *3 (N.D. Cal. May 10, 2013) (permitting
  19 surreply where favorable ALJ decision issued after summary judgment briefing
  20 impacted the plaintiff’s case); Equal Emp. Opportunity Comm’n v. Evans Fruit Co.,
  21 No. CV-10-3033-LRS, 2011 WL 13115962, at *1 (E.D. Wash. Mar. 24, 2011)
  22 (“Because it is apparent there were new developments between the parties following
  23 the filing of EEOC’s response to the motion (Ct. Rec. 234), as reflected in
  24 Defendant’s reply (Ct. Rec. 236), the court has considered the EEOC’s proposed
  25 sur-reply.”); see also McLellan v. Fitbit, Inc., No. 3:16-CV-00036-JD, 2017 WL
  26 4551484, at *1 (N.D. Cal. Oct. 11, 2017) (“While these briefs were under review,
  27 the Court allowed each side to file sur-replies and supplemental briefs, which for the
  28 most part discussed new decisions that one side or the other thought germane to the
       3727369.2
                                                        6
                          PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 7 of 8 Page ID #:326




   1 arbitration questions.”).
   2               C.    Plaintiff Should Be Permitted to Correct the Government’s Factual
   3                     Misstatement In Order To Accurately Represent The Issues In
   4                     Dispute.
   5               The Government falsely asserts in its reply that USPV’s claim contesting
   6 forfeiture is invalid because it is signed by counsel for USPV, rather than the
   7 claimant. This statement is demonstrably false: although Michael Singer is USPV’s
   8 attorney, he also is – and explicitly identified himself as – USPV’s “Authorized
   9 Representative.” The fact that USPV submitted a valid claim contesting the
  10 Government’s purported administrative forfeiture directly contradicts the
  11 Government’s contention that there is no viable claim contesting its administrative
  12 forfeiture of Plaintiff’s property. (See Dkt. 29, Reply at 3-4.) Because the existence
  13 and effect of claims contesting the Government’s forfeiture are critical to the
  14 Court’s consideration of the Government’s motion to dismiss, Plaintiff should be
  15 permitted to correct the record as to these claims in order to “help[] crystallize the
  16 disputed issues” before the Court. Radware, 2016 WL 393227, at *2.
  17 III.          CONCLUSION
  18               Plaintiff respectfully requests that the Court grant his ex parte application for
  19 leave to file a surreply in opposition to Defendants’ motion to dismiss, and permit
  20 Plaintiff to file the Surreply and Declaration attached as Exhibits A and B,
  21 respectively.
  22
  23
  24
  25
  26
  27
  28
       3727369.2
                                                        7
                          PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
Case 2:21-cv-02803-RGK-MAR Document 30 Filed 06/28/21 Page 8 of 8 Page ID #:327




   1 DATED: June 28, 2021                Benjamin N. Gluck
                                         Nicole R. Van Dyk
   2
                                         Ashley D. Bowman
   3                                     Naomi S. Solomon
                                         Bird, Marella, Boxer, Wolpert, Nessim,
   4
                                         Drooks, Lincenberg & Rhow, P.C.
   5
   6                                     By:         /s/ Benjamin N. Gluck
   7                                                 Benjamin N. Gluck
                                               Attorneys for Plaintiff John Doe
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       3727369.2
                                                8
                   PLAINTIFF’S EX PARTE APPLICATION FOR LEAVE TO FILE SURREPLY
